                               UNITED STATES DISTRICT COURT
                                           for the
                            EASTERN DISTRICT OF NORTH CAROLINA

U.S.A. vs. Reginald Antonio Jones                                            Docket No. 5:15-CR-237-1H

                               Petition for Action on Supervised Release

COMES NOW Kyle W. Fricke, U.S. Probation Officer of the court, presenting a petition for modification
of the Judgment and Commitment Order of Reginald Antonio Jones, who, upon an earlier plea of guilty to
Possession With the Intent to Distribute a Quantity of Cocaine Base (Crack), in violation of 21 U.S.C §
841(a)(1), 21 U.S.C. § 841(b)(1)(C), was sentenced by the Honorable Malcolm J. Howard, Senior U.S.
District Judge, on March 8, 2016, to the custody of the Bureau of Prisons for a term of 66 months. It was
further ordered that upon release from imprisonment the defendant be placed on supervised release for a
period of 36 months. Reginald Antonio Jones was released from custody on November 6, 2019, at which
time the term of supervised release commenced.

On December 3, 2019, a Petition for Action was submitted advising that the defendant tested positive
for cocaine on November 7, 2019, and that the defendant committed the criminal offenses of No Operators
License, Directional Signals Equipment Violation, and Possession of Open Container/Consuming Alcohol
in Passenger Area in Wilson County, North Carolina (19CR53959). The defendant was ordered to adhere
to a curfew as directed by the probation officer for a period of 30 consecutive days and submit to Radio
Frequency Location Monitoring.

On July 28, 2020 a Violation Report was submitted advising that the defendant committed the criminal
offense of Driving While License Revoked in Wilson County, North Carolina (20CR1478). The defendant
was counseled about his actions and the court agreed to continue supervision.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

        On September 11, 2020, the defendant committed the criminal offense of Driving While License
Revoked Not Impaired in Wilson County, North Carolina (20CR2641). Although this charge remains
pending, the defendant admits guilt. As a sanction for this conduct, the probation office is recommending
that he be placed on curfew with electronic monitoring for a period of 45 days. The defendant signed a
Waiver of Hearing agreeing to the proposed modification of supervision.

PRAYING THAT THE COURT WILL ORDER that supervised release be modified as follows:

   1. The defendant shall adhere to a curfew as directed by the probation officer for a period not to exceed
      45 consecutive days. The defendant is restricted to his residence during the curfew hours. The
      defendant shall submit to the following Location Monitoring: Radio Frequency monitoring and
      abide by all program requirements, instructions and procedures provided by the supervising officer.

Except as herein modified, the judgment shall remain in full force and effect.




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Reviewed and approved,                            I declare under penalty of perjury that the foregoing
                                                  is true and correct.


/s/ Dewayne L. Smith                              /s/ Kyle W. Fricke
Dewayne L. Smith                                  Kyle W. Fricke
Supervising U.S. Probation Officer                U.S. Probation Officer
                                                  150 Reade Circle
                                                  Greenville, NC 27858-1137
                                                  Phone: 252.830.2336
                                                  Executed On: September 24, 2020

                                     ORDER OF THE COURT

                                25th
Considered and ordered this _________             September
                                         day of ____________________, 2020, and ordered filed and
made a part of the records in the above case.

________________________________
Malcolm J. Howard
Senior U.S. District Judge




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